                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                         DOCKET NO. 3:20-CV-00504-FDW-DSC


 CPI SECURITY SYSTEMS, INC.,                     )
                                                 )
               Plaintiff,                        )
                                                 )
        vs.                                      )                NOTICE OF HEARING
                                                 )
 VIVINT SMART HOME, INC. et al.,                 )
                                                 )
               Defendants.                       )
                                                 )

       This matter is before the Court sua sponte as to the trial setting in this case. The parties

shall TAKE NOTICE that trial in this matter will begin with a pretrial conference on Monday,

February 6, 2023, at 9:00 a.m. in Courtroom #5B of the Charles R. Jonas Federal Building, 401

W. Trade Street, Charlotte, North Carolina.       Voir dire will immediately follow the pretrial

conference.

       IT IS SO ORDERED.




                                        Signed: August 22, 2022
